               Case 1:21-cr-00409-UNA Document 14 Filed 10/19/21 Page 1 of 1

  US. Department of Justice
  United States Attorney




                              IN THE UNITED STATES DISTRICT COURT
n f c' (r.'"
:'llOU\.r-j                     FOR THE NORTHERN DISTRICT OF GEORGIA


  UNITED STATES OF AMERICA                                            Indictment/ Information


  V.

                                                              1:21-CR-
  Jaime Cruz Duarte


  Agent to Arrest
                                                                                      FILED IN OPEN COURT
                                                                                         U.S.D.C.. Atlanta'



                                                                                       OCT f 9 202J
                                                  PRAECIPE                         KEVfN P.
                                                                                    By:"^          ^R, Clerk
                                                                                                       Oeputy Clerk

        The Clerk is hereby directed to issue a warrant for arrest/certified copy (copies) of
  indictment attached/ returnable instanter, in the above-statpd case.



                                                          ^chaiV S. HA^aVcl
                                                         .Assi&iAnt United States Attorney



  Filed In Clerk's Office, this                 day of         -/20




                                    Clerk
                                                                          : MARSHAL

  By.
                                 Deputy Clerk



                                                                                          Form No. USA-19-8
                                                                                               (Rev.08/06/87)
                                                                                             N.D.Ga. 08/26/94
